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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

TIMOTHY KING, MARIAN ELLEN
SHERIDAN, JOHN EARL HAGGARD,
CHARLES JAMES RITCHARD, JAMES
DAVID HOOPER, and DAREN WADE
RUBINGH,                                         CIVIL ACTION

                   Plaintiffs,
                                                 Case No. 2:20-CV-13134
      v.

GRETCHEN WHITMER, in her official                Hon. Linda V. Parker
capacity as Governor of Michigan,
JOCELYN BENSON, in her official
capacity as Michigan Secretary of State,
and MICHIGAN BOARD OF STATE
CANVASSERS.

                   Defendants,

and

DEMOCRATIC NATIONAL
COMMITTEE and MICHIGAN
DEMOCRATIC PARTY,

                   Intervenor-Defendants.



      INTERVENOR-DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
                     MOTION TO SEAL

      Intervenor-Defendants DNC and Michigan Democratic Party respectfully

oppose Plaintiffs’ motion to file certain evidence under seal (“Motion to Seal”), for

the following reasons:
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      First, Plaintiffs utterly fail to overcome the strong presumption in favor of

public access to judicial records and documents. See Nixon v. Warner

Communications, 435 U.S. 589, 597-98 (1978); Brown & Williamson Tobacco

Corp. v. F.T.C., 710 F.2d 1165, 1179 (6th Cir. 1983). The Motion to Seal would

keep evidence hidden from the public in a case of enormous state and national public

interest. In this case, Plaintiffs attempt to overturn the results of Michigan’s general

election—an election that has already been certified for President-elect Joseph R.

Biden, Jr. Plaintiffs ask nothing less than for this Court to reject the will of the voters

and instead “certify the results of the General Election for Office of the President in

favor of President Donald Trump.” Am. Compl. ¶ 230. Plaintiffs should not be

permitted to use hidden evidence to achieve a result that would have such an

enormous impact on the American people.

      There is good reason for the presumption of favor of public access: such a

right ensures the public’s trust in the judiciary’s decision-making. “[T]he public is

entitled to assess for itself the merits of judicial decisions,” which requires

considering “what evidence and records the [court] relied upon in reaching []

decisions.” Shane Grp., Inc. v. Blue Cross Blue Shield of Michigan, 825 F.3d 299,

305 (6th Cir. 2016).

      The burden of overcoming the basic presumption of open-access “is borne by

the party that seeks to seal” documents. Id. This burden is a “heavy one”—“[o]nly



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the most compelling reasons can justify non-disclosure of judicial records.” Id.

(quoting In re Knoxville News–Sentinel Co., 723 F.2d 470, 476 (6th Cir. 1983)).

Moreover, “the greater the public interest in the litigation’s subject matter, the

greater the showing necessary to overcome the presumption of access.” Id.

      Plaintiffs’ Motion to Seal would not overcome that heavy burden in a typical

case, much less in a case seeking to overturn the results of a state’s presidential

election. Indeed, Plaintiffs’ motion gives short shrift to their burden, describing, in

a single sentence, the “privacy and personal and financial security interests of the

witnesses” they contend should outweigh the public’s right of access. Mot. at 4. Such

cursory and conclusory descriptions of the alleged harm witnesses will suffer cannot

justify the sealing of affidavits and witness identities in a case of such tremendous

public importance. And Plaintiffs submit no evidence establishing why these

witnesses—unlike the scores of other affiants whose identities Plaintiffs do not

redact—are entitled to submit anonymous evidence in support of Plaintiffs’ motion.

      Second, Plaintiffs’ Motion to Seal fails to comply with this Court’s basic

requirements for filing evidence under seal. Precisely because of the presumption of

public access, the Sixth Circuit has made clear the “proponent of sealing [] must

‘analyze in detail, document by document, the propriety of secrecy, providing

reasons and legal citations.’” Shane, 825 F.3d at 305–06 (quoting Baxter Int’l, Inc.

v. Abbott Labs., 297 F.3d 544, 548 (7th Cir. 2002)); see also L.R. 5.3(b)(3) (“for



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each proposed sealed exhibit or document, a detailed analysis, with supporting

evidence and legal citations, demonstrating that the request to seal satisfies

controlling legal authority”). This Court’s rules also require that the movant attach

“a redacted version of the document(s) to be sealed, filed as an exhibit to the

motion,” “an unredacted version, filed as a sealed exhibit, of the document that is

sought to be filed under seal,” and “an index of documents which are proposed for

sealing and, as to each document, whether any other party objects.” L.R. 5.3(b)(3).

Plaintiffs’ motion purports to attach the redacted affidavits it wishes to remain under

seal, see Mot. at 5, but fails to do so. As far as Intervenor-Defendants are aware,

Plaintiffs have failed to comply with the requirement that they submit to the Court

“unredacted version[s]” of the documents. Although Plaintiffs appear willing to

share the identities of the anonymous affiants with the parties, see Mot. at 4, they

have not provided unredacted versions of the affidavits to counsel for the parties.

Nor does Plaintiffs’ motion provide the required detailed, document by document

justification for secrecy and supporting legal authorities. Indeed, the motion cites not

a single legal authority supporting its request.

      Third, and finally, the evidence that Plaintiffs seek to keep secret from the

public relates to some of the critical factual issues in Plaintiffs’ attempt to overturn

Michigan’s election results, including the alleged “hacking” of Michigan’s voting

system and alleged foreign interference in the election. Plaintiffs openly



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acknowledge this. See Mot. at 3 (“[T]he testimony of these witnesses is

consequential to the matter before this court, namely a legal challenge to the outcome

of the Presidential election in Michigan.”). This is the last type of material that

should be kept secret from the public.

      Finally, while Plaintiffs contend that “the redacted affidavits conceal only

their identifying information” and that “all their other testimony is public and

unredacted,” that statement is incorrect. The very first exhibit Plaintiffs attach to

their First Amended Complaint, ECF No. 6-1, redacts not only the witness’s personal

information, but also large swathes of his testimony.

      If Plaintiffs believe they have presented credible information concerning an

alleged “hacking” of the election, they should come forward and say so. They should

not, however, be permitted to lodge such stunning accusations against Michigan’s

election officials without accountability and consequence. The public has a right to

see the basis for Plaintiffs’ attempt to overturn the results of the state’s general

election.

      For the reasons set forth above, Intervenor-Defendants respectfully request

that the Court deny Plaintiffs’ Motion to Seal.

      Dated: December 2, 2020.                          Respectfully submitted,




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                                    PROOF OF SERVICE

       Scott Eldridge certifies that on the 2nd day of December 2020, he served a copy of the

above document in this matter on all counsel of record and parties via the ECF system.

                                                    s/ Scott R. Eldridge
                                                    Scott Eldridge




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